   Case 2:10-md-02179-CJB-DPC Document 6829-2 Filed 07/02/12 Page 1 of 1




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

IN RE OIL SPILL BY THE OIL RIG             )       MDL 2179
“DEEPWATER HORIZON” IN THE                 )
GULF OF MEXICO ON APRIL 20,                )       JUDGE BARBIER
2010                                       )
                                           )       SECTION “J”
                                           )
Member case: Duong, et al. v. BP           )       MAGISTRATE JUDGE WILKINSON
            America Production             )
            Company, et al., 12-814        )       MAG. DIV. 2


                                          ORDER

       CONSIDERING THE FOREGOING Ex Parte Motion for Leave to File Reply in Support

of Defendants’ Motion to Stay Proceedings Pending Implementation of BP Deepwater Horizon

Settlement filed by BP America Production Company and BP Exploration and Production Inc.

(collectively, “BP Defendants”);

       IT IS HEREBY ORDERED that leave to file the Reply in Support of Defendants’ Motion

to Stay Proceedings Pending Implementation of BP Deepwater Horizon Settlement is

GRANTED. BP Defendants’ Reply in Support of Defendants’ Motion to Stay Proceedings

Pending Implementation of BP Deepwater Horizon Settlement shall be filed into the record.

       New Orleans, Louisiana, this ___ day of July, 2012.




                                           _______________________________________
                                           UNITED STATES DISTRICT JUDGE
